                                                                                                                           une 09, Lujan
                                                                                                                             vette 2023

                      Case 4:23-mj-00368-DF Document 1 Filed 06/07/23 Page 1 of 2
                                                                                                                            FILED
                                                                                                                          June 07, 2023
AO 91 (Rev. 11/11) Criminal Complaint                                                                                 CLERK, U.S. DISTRICT COURT
                                                                                                                      WESTERN DISTRICT OF TEXAS

                                                                                                                            Yvette Lujan
                                                                                                                 BY: ________________________________


                                    UNITED STATES DISTRICT COURT
                                                                                                                                         DEPUTY



                                                              for the
                                                   Western District of Texas

                  United States o f America                      )
                             V.                                  )
                                                                 )      Case No.    4:23-mj-368
                                                                 )
                                                                 )
                                                                 )
                     Sonya Conchita Murillo
                                                                 )
                           Defendant(s)


                                                CRIMINAL COMPLAINT
        I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of before June 7, 2023                       in the county of Presidio
                                                                                            - - - -         - - - -
                                                                                                                  -
                                                                                                                                      in the
Western                District of Texas                     , the defendant(s) violated:

            Code Section                                                  Offense Description

18 U.S.C. §2251(a)                            Sexual Exploitation of Children




          This criminal complaint is based on these facts:

See attached affidavit.




         X
         D     Continued on the attached sheet.




                                                                                             Printed name and title




Date:
           06/07/2023
                                                                                             Judge's signature
                                                                           David B. Fannin, United States Magistrate Judge
City and state:       Alpine, Texas
                                                                                             Printed name and title
            Case 4:23-mj-00368-DF Document 1 Filed 06/07/23 Page 2 of 2



                    Affidavit in Support of an Federal Criminal Complaint

Your affiant is Special Agent (SA) Adam Patterson with the Texas Department of Public
Safety (DPS), assigned to the Alpine, Texas Criminal Investigations Division (CID). Your
Affiant has been employed as a Special Agent for DPS since July 2020. Prior to CID, your
Affiant worked for DPS as a State Trooper since January 2013. As part of your Affiant's
current duties, he investigates violations of state and federal law, including the online
exploitation of children, including violations pertaining to the illegal possession, receipt,
transmission, and production of material depicting the sexual exploitation of minors. Your
Affiant holds a bachelor's degree in criminal justice from the University of Texas at El Paso.

On June 7, 2023, while conducting a forensic review of a cell phone from a different child
pornography investigation in Marfa, Texas, your Affiant observed at least eight videos saved from
Snapchat depicting an adult Hispanic female woman performing oral sex on a male child
approximately 3 to 5 years old. The videos depict the woman stroking the child's exposed penis
with her hand as well as placing the child's penis into her mouth and the adult female licking the
child's exposed testes and penis. In those videos, the adult female's face is in full and plain view,
as well as a distinct tattoo located on her left shoulder above her clavicle. Within the same file
space of these videos are other saved snapchat 'selfies' and videos of the adult female not engaged
in sexual activity, but show her full face and the same unique tattoo on her left shoulder above her
clavicle. This adult Hispanic female woman is identified as Sonya Conchita Murillo. Your
Affiant believes the sexually explicit conduct and video production occurred in Marfa, Texas, in
the Western District of Texas.

Snapchat is a cell phone application used for messaging and to share pictures and videos. Snapchat
is accessed with cellular and Wi-Fi internet. The cell phone containing the child pornography
videos was manufactured outside of the United States.

Your affiant believes probable cause exists to support the criminal complaint and arrest of Sonya
Conchita Murillo for violating Title 18, United States Code, Section 2251(a), Sexual Exploitation
of Children.



      Patterson Special Agent
Texas Department of Public Safety, Criminal Investigation Division




Honorable Judge David Fannin
United States Magistrate Judge
